208 F.2d 797
    Elmer F. KELM, Collector of Internal Revenue of the UnitedStates, for the District of Minnesota, Appellant,v.MOTOR POWER EQUIPMENT COMPANY, a Corporation.
    No. 14940.
    United States Court of AppealsEighth Circuit.
    Nov. 16, 1953.
    
      1
      George E. MacKinnon, U.S. Atty., and Alex Dim, Asst. U.S. Atty. St. Paul, Minn., for appellant.
    
    
      2
      Bundlie, Kelley, Finley &amp; Maun, St. Paul, Minn., for appellee.
    
    
      3
      Appeal from District Court dismissed without taxation of costs in this Court in favor of either of the parties, on stipulation.
    
    